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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                       )
                                             )
               Defendant.                    )

                DEFENDANT PAUL J. MANAFORT, JR.’S NOTICE
                  OF WAIVER OF APPEARANCE FOR HEARING
               ON MOTION TO MODIFY CONDITIONS OF RELEASE

       Paul J. Manafort, Jr., by and through counsel, hereby waives his appearance for

the hearing on the Motion to Modify the Conditions of Release for Thanksgiving

Holidays set for 1:00 p.m. on November 21, 2017. Counsel for Defendant Manafort files

this Notice after notification by the Court’s staff of the scheduled hearing date and time

for the pending motion.



Dated: November 21, 2017                            Respectfully submitted,



                                                    ______________________________
                                                    Kevin M. Downing
                                                    (DC Bar # 1013984)
                                                    Thomas E. Zehnle
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